
30 Ill. App.3d 723 (1975)
332 N.E.2d 562
THE PEOPLE OF THE STATE OF ILLINOIS et al., Plaintiffs-Appellants,
v.
JOHN L. ROGERS, Defendant-Appellee.
Nos. 60943-46 cons.
Illinois Appellate Court  First District (3rd Division).
July 3, 1975.
*724 Bernard Carey, State's Attorney, of Chicago (Laurence J. Bolon and Michael E. Shebat, Assistant State's Attorneys, of counsel), for the People.
Richard W. Stopka, of Chicago, for appellee.
Abstract of Decision.
Reversed and remanded.
